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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE


 RYANAIR DAC,
                                                           C.A. No. 1:20-cv-01191-WCB
                           Plaintiff,

                    v.

 BOOKING HOLDINGS INC.,
 BOOKING.COM B.V., KAYAK SOFTWARE
 CORPORATION, PRICELINE.COM LLC,
 and AGODA COMPANY PTE. LTD,

                           Defendants,

 BOOKING.COM B.V.,

                           Counterclaim Plaintiff.


             STIPULATION AND [PROPOSED] ORDER TO EXTEND TIME

       IT IS HEREBY STIPULATED AND AGREED, by Plaintiff, Ryanair DAC and

Defendants, Booking.com B.V. and KAYAK Software Corporation (together, “Defendants”), and

subject to the approval of the Court, that the deadline to file public versions of the following

documents filed under seal, as more fully described below, shall be extended to August 9, 2024.

       1.      The parties agree to extend the current deadline to file a public, redacted version of

the Plaintiff’s Brief Regarding Disclosure of Lost Profits and Lost Revenue filed under seal at D.I.

434, and supporting Exhibits thereto filed under seal at D.I.s 434-1 through and including 434-5

from July 18, 2024 to August 9, 2024.

       2.      The parties agree to extend the current deadline to file a public, redacted version of

the Defendants’ Response Regarding Monex filed under seal at D.I. 435, and supporting Exhibits
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thereto filed under seal at D.I.s 435-1 through and including 435-3 from July 18, 2024 to August

9, 2024.

       3.      The parties agree to extend the current deadline to file a public, redacted version of

the Plaintiff Ryanair DAC’s Opposition to Defendants’ Motion to Preclude New Kayak “Loss”

Calculation filed under seal at D.I. 436, and supporting Exhibits thereto filed under seal at D.I.s

436-1 through and including 436-4 from July 19, 2024 to August 9, 2024.


Dated: July 15, 2024

 KRATZ & BARRY LLP                                RICHARDS, LAYTON & FINGER, P.A.

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                                                  Plaintiff, Booking Holdings Inc., Booking.com
                                                  B.V., Kayak Software Corporation,
                                                  Priceline.com LLC, and Agoda Company Pte.
                                                  Ltd.




       SO ORDERED this                  day of                               , 2024.




                                                      WILLIAM C. BRYSON
                                                      United States Circuit Judge




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